 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.1 Page 1 of 20



 1   PAUL L. REIN, Esq. (SBN 43053)
     AARON M. CLEFTON, Esq. (SBN 318680)
 2   REIN & CLEFTON, Attorneys at Law
     200 Lakeside Drive, Suite A
 3   Oakland, CA 94612
     Telephone: 510/832-5001
 4   Facsimile: 510/832-4787
     info@reincleftonlaw.com
 5
     Attorneys for Plaintiff
 6   JESSICA KRAMER
 7
                              UNITED STATES DISTRICT COURT
 8
                           SOUTHERN DISTRICT OF CALIFORNIA
 9

10
      JESSICA KRAMER                                 CASE NO.          '22CV642 L      WVG
11                                                   Civil Rights
            Plaintiff,
12                                                   COMPLAINT FOR PRELIMINARY AND
                                                     PERMANENT INJUNCTIVE RELIEF
13                                                   AND DAMAGES:
            v.
14                                                  1. Violation of the California Disabled
                                                          Persons Act (Cal. Civil Code § 54 et
15                                                        seq.)
16    RVN, INC. dba HYLAND INN,                     2. Violation of the California Unruh Act
                                                          (Cal. Civil Code §§ 51 and 52)
17
            Defendant.                              3. Violations of Americans with
18                                                     Disabilities Act of 1990 (42 U.S.C. §
                                                       12101 et seq.)
19
                                                     DEMAND FOR JURY TRIAL
20

21         Plaintiff JESSICA KRAMER complains of Defendant RVN, INC. dba

22   HYLAND INN, and alleges as follows:

23         1.     INTRODUCTION: On August 30, 2021, Defendant refused to allow

24   disabled Plaintiff Jessica Kramer to stay at its motel with her service dog Lucious.

25   Defendant did so despite Plaintiff’s attempts to persuade Defendant otherwise by

26   citing the ADA to them. Nonetheless, after hearing what the law requires from

27   Plaintiff, Defendant still denied her access to staying at the hotel solely because she

28   uses a service dog. This lawsuit seeks injunctive relief and damages against the

                                                      1
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.2 Page 2 of 20



 1   owners and operators of the Hyland Inn for denying full and equal access to
 2   Plaintiff Jessica Kramer, a disabled person who uses a service dog.
 3          2.    Plaintiff both volunteers for and participates in a housing program
 4   which provide vouchers for overnight stays at the Hyland Inn for housing insecure
 5   individuals. She intends to return to the Hyland Inn to visit people who are staying
 6   there and also may need to stay there herself in the future, but she cannot do so until
 7   the policies of the motel are made accessible to disabled individuals who use
 8   service dogs, including revision of its service dog policies and necessary employee
 9   training and/or re-training. She has brought this lawsuit to force Defendant to
10   change its discriminatory and illegal policies and compensate her for refusing to
11   allow her to enter the motel because she is a disabled person who needs the
12   assistance of her qualified service dog. Plaintiff seeks an injunction to protect the
13   rights of all disabled persons, including Plaintiff, when accompanied by a qualified
14   service dog at the Hyland Inn.
15          3.    JURISDICTION: This Court has jurisdiction of this action pursuant
16   to 28 USC sections 1331 and 1343. This Court has jurisdiction over the claims
17   brought under California law pursuant to 28 U.S.C. § 1367.
18          4.    VENUE: Venue is proper in this court pursuant to 28 USC
19   section 1391(b) and is proper because the real property which is the subject of this
20   action is located in this district and that Plaintiff’s causes of action arose in this
21   district.
22          5.    PARTIES: Plaintiff Jessica Kramer is a “qualified” disabled person.
23   She suffers from recurrent viral meningitis which causes seizures, post-traumatic
24   stress disorder (PTSD), anxiety, and panic disorder. Plaintiff relies upon her
25   service dog, a mixed bulldog named “Lucious,” to assist her with certain tasks
26   including pawing at Plaintiff to get her attention when she is exhibiting symptoms
27   of stress and panic, interrupting certain behaviors that can lead to seizures, pinning
28   Plaintiff’s shoulders and head down during a seizure to prevent head injuries, and

                                                    2
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.3 Page 3 of 20



 1   staying with Plaintiff in an emergency.
 2             6.    Plaintiff previously went through professional service dog training
 3   with her prior service dog. After her previous service dog passed, she acquired
 4   Lucious. Lucious has been individually trained by Plaintiff to be service dog based
 5   on her prior experience of going through professional training. Plaintiff continues
 6   to reinforce the training with Lucious daily. Plaintiff is a qualified person with a
 7   disability as defined under federal and state law. 42 U.S.C. § 12102, 29 U.S.C.
 8   § 705(9)(B), and California Government Code § 12926(1).
 9             7.    Defendant RVN, INC. dba HYLAND INN, is and was at all times
10   relevant to this Complaint the owner, operator, lessor and/or lessee of the subject
11   business, property and building located at 3570 Pio Pico Drive, Carlsbad, California
12   known as the Hyland Inn.
13             8.    Hyland Inn is a place of “public accommodation” and a “business
14   establishment” subject to the requirements inter alia of multiple categories of 42
15   U.S.C. section 12181(7) of the Americans with Disabilities Act of 1990, of
16   California Civil Code sections 51 et seq., and of California Civil Code sections 54
17   et seq.
18             9.    FACTUAL STATEMENT: Plaintiff Jessica Kramer has been
19   working with her service dog Lucious for over four years. Lucious is a bulldog mix
20   who was individually trained to be a service dog by Plaintiff. Plaintiff has also
21   trained and continues to train Lucious to serve her specific needs throughout their
22   relationship. Lucious is specifically trained to assist Plaintiff with controlling her
23   symptoms of panic by getting her attention when at the onset of symptoms,
24   interrupting certain behaviors that can lead to seizures, pinning Plaintiff’s shoulders
25   and head down during a seizure to prevent head injuries, and staying with Plaintiff
26   in an emergency.
27             10.   Lucious is a working dog; he is not a pet. Plaintiff and Lucious have
28   trained extensively together, and they supplement that training daily. Plaintiff takes

                                                     3
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.4 Page 4 of 20



 1   Lucious everywhere with her in public. It is important they stay together at all
 2   times because (a) Lucious provides important services for Plaintiff; and (b) it is part
 3   of the training and bonding requirement that they be together constantly to maintain
 4   their bond. Where Plaintiff goes, Lucious goes. Below is a photograph of Lucious
 5   as he looked at the time, he and Plaintiff were denied access at the Hyland Inn:
 6

 7

 8

 9

10

11

12

13

14

15

16

17         11.    Plaintiff was planning to move into her new apartment on August 30,
18   2021. However, the property owner informed Plaintiff that it needed a couple of
19   extra days to get the apartment ready for her to move-in. Her landlord provided
20   Plaintiff with a voucher for her to stay at the Hyland Inn for the nights of August 30
21   and 31, 2021.
22         12.    Plaintiff was informed that she could pick up her voucher for the
23   Hyland Inn at the Community Resource Center. She picked up her voucher there,
24   and she was informed that the Hyland Inn was expecting her.
25         13.    Plaintiff asked her friend to escort her to the Hyland Inn to ensure that
26   everything went smoothly with the voucher. She drove in her car with Lucious, and
27   her friend drove his own vehicle. They arrived at the Hyland Inn in the early
28   evening, and they both pulled their vehicles up to the front office area. Plaintiff left

                                                   4
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.5 Page 5 of 20



 1   Lucious in her car momentarily and approached the office window to check into the
 2   Hyland Inn.
 3         14.     Plaintiff was greeted by Defendant’s employee at the check in
 4   window, and she slid her voucher through the opening at the bottom of the window
 5   so that the employee could begin the check in process. The employee took the
 6   voucher and left the window for a moment. When the employee returned, he asked
 7   Plaintiff if that was her dog, pointing to Lucious in her car. Plaintiff responded that
 8   Lucious is her medically required seizure service dog. The employee then said,
 9   “No, no, no, no, they did not tell me that you had a dog with you.” “They did not
10   pay a pet fee.”
11         15.     Plaintiff again explained that Lucious is a service dog not a pet, but the
12   employee would not listen to her. He pointed to a sign that informed guests that
13   there was a $250 fee for having guests in their room. Plaintiff clarified that Lucious
14   is he medically necessary service dog, and thus, any pet fee does not apply to him.
15   The employee continued to argue with her, and he told her that she would have to
16   pay the $250 pet fee for Lucious.
17         16.     Plaintiff’s seizures are often triggered by stressful situations, and she
18   could tell that her stress level was increasing rapidly by arguing with the employee.
19   Plaintiff took a step back and asked Defendant’s employee if he could look up the
20   law surrounding service animals on ADA.gov. The employee refused to look up
21   the law or engage in any discussions of the ADA. He continued to tell her that she
22   would have to pay the $250 fee or leave.
23         17.     Plaintiff told Defendant’s employee that she did not have the money to
24   pay the pet fee, nor did she have any other place to go. Defendant’s employee was
25   clear that he did not care where she went but that she could not stay at the Hyland
26   Inn with Lucious if she did not pay the $250 pet fee. At the end of the
27   conversation, Defendant’s employee swore at Plaintiff and told her to leave.
28         18.     Plaintiff returned to her car sobbing and feeling terrified of having

                                                    5
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.6 Page 6 of 20



 1   nowhere else to go. Her friend came over to help and support her. He and Lucious
 2   helped her calm down enough so that she could drive her vehicle to a safe place.
 3   Her friend then assisted her in securing a different safe place to sleep for the two
 4   nights that she was supposed to stay at the Hyland Inn, but it took them over three
 5   hours to find alternative accommodations. The experience left Plaintiff emotionally
 6   drained, depressed, and embarrassed that she had to rely on her friend on such short
 7   notice and under such dire circumstances.
 8         19.    Following the incident, Plaintiff called the Carlsbad Police Department
 9   to report the incident. The police officer produced a report about the incident, and
10   he transmitted it to the District Attorney for potential prosecution.
11         20.    Plaintiff volunteers to help the vulnerable homeless population in
12   Carlsbad. Since the Hyland Inn participates in the voucher program which allows
13   homeless individuals to stay at the motel, Plaintiff must go to the Hyland Inn to
14   visit and assist people periodically.
15         21.    On October 15, 2021, Plaintiff had to go to the Hyland Inn to visit an
16   elderly homeless man who was staying there so that he could sign some papers. On
17   this visit to the Hyland Inn, Plaintiff made a conscious decision not to bring
18   Lucious with her, despite the risks associate with them being separated, because she
19   did not want to cause any problems for the gentleman she was visiting.
20         22.    Despite this abundance of caution, when she was standing outside of
21   the gentleman’s room, she heard Defendant’s employee yelling at her, “Your dog
22   can’t be here!” and “Your dog better not be in that room.” Then, Defendant’s
23   employee pushed passed Plaintiff and entered the gentleman’s room to see if
24   Lucious was inside. Plaintiff told Defendant’s employee that her dog was not
25   present and explained that she was only at the Hyland Inn to assist the man.
26   Defendant’s employee then told Plaintiff that neither she nor her dog were welcome
27   on the Hyland Inn property. In retaliation for her asserting her rights previously,
28   and solely because Plaintiff uses a service dog, the employee threatened to kick the

                                                   6
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.7 Page 7 of 20



 1   man out of the room that Plaintiff was trying to assist if she did not leave
 2   immediately. He did this to coerce and punish Plaintiff for her use of a service dog,
 3   even when she did not have one with her.
 4           23.     Even though Lucious was not with her, Plaintiff again tried to explain
 5   that Lucious is a service dog and is therefore legally allowed to be with her
 6   wherever the general public is allowed at a public accommodation. Defendant’s
 7   employee told her he did not care, she needed to leave. At that point, Plaintiff left
 8   the Hyland Inn because she did not want to cause any issues for the gentleman she
 9   was visiting.
10           24.     Plaintiff waited until the gentleman had been moved into a different
11   housing situation, and then she called the Carlsbad Police Department to file a
12   second incident report. Plaintiff was worried that the gentleman would be kicked
13   out of his room at the Hyland Inn if she contacted the police about the incident right
14   away.
15           25.     Plaintiff wishes to return to the Hyland Inn both to stay there and to
16   assist other people who are staying there, but only after Defendant’s have
17   implemented proper service animal policies and training of its staff. Plaintiff is
18   deterred from returning to the motel until these policies and training are in place.
19                           FIRST CAUSE OF ACTION:
                          DAMAGES AND INJUNCTIVE RELIEF
20                 FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC
                       FACILITIES IN A PUBLIC ACCOMMODATION
21                               (Civil Code §§ 54 et seq.)
22           26.     Plaintiff re-pleads and incorporates by reference, as if fully set forth
23   hereafter, the factual allegations contained in Paragraphs 1 through 25 of this
24   Complaint and all paragraphs of the third cause of action, as plead infra,
25   incorporates them herein as if separately re-pleaded.
26           27.     Under the California Disabled Persons Act (CDPA), people with
27   disabilities are entitled to the “full and free use of . . . public buildings, . . . public
28   facilities, and other public places.” Civil Code § 54(a).

                                                      7
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.8 Page 8 of 20



 1         28.    Civil Code section 54.1(a)(1) further guarantees the right of “full and
 2   equal access” by persons with disabilities to “accommodations, advantages,
 3   facilities . . . hotels, lodging places of accommodation, amusement or resort, or
 4   other places to which the general public is invited.” Civil Code § 54.1(c) also
 5   specifies that, “individuals with a disability and persons authorized to train service
 6   dogs for individuals with a disability, may take dogs, for the purpose of training
 7   them as guide dogs, signal dogs, or service dogs in any of the places specified in
 8   subdivisions (a) and (b).”
 9         29.    Civil Code section 54.2(a) specifically protects the right of “every
10   individual with a disability” “to be accompanied by a guide dog, signal dog, or
11   service dog, especially trained for the purpose, in any of the places specified in
12   Section 54.1.”
13         30.    Civil Code section 54.3(b) makes liable “Any person or persons, firm
14   or corporation who denies or interferes with admittance to or enjoyment of the
15   public facilities as specified in Sections 54 and 54.1 or otherwise interferes with the
16   rights of an individual with a disability under Sections 54, 54.1 and 54.2.” This
17   section also specifies that, “‘[I]nterfere,’ for purposes of this section, includes, but
18   is not limited to, preventing or causing the prevention of a guide dog, signal dog, or
19   service dog from carrying out its functions in assisting a disabled person.”
20         31.    Defendant is also in violation of California Penal Code section
21   365.5(b) which states:
22         No blind person, deaf person, or disabled person and his or her specially
           trained guide dog, signal dog, or service dog shall be denied admittance
23         to accommodations, advantages, facilities, medical facilities, including
           hospitals, clinics, and physicians’ offices, telephone facilities, adoption
24         agencies, private schools, hotels, lodging places, places of public
           accommodation, amusement or resort, and other places to which the
25         general public is invited within this state because of that guide dog,
           signal dog, or service dog.
26
           32.    The Hyland Inn is a public accommodation within the meaning of the
27
     CDPA. On information and belief, Defendant is the owners, operators, lessors or
28

                                                   8
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.9 Page 9 of 20



 1   lessees of the public accommodation.
 2         33.     Defendant made the decision to knowingly and willfully exclude
 3   Plaintiff and her service dog from its public accommodation and thereby deny
 4   Plaintiff her right of entrance into its place of business with her service dog. As a
 5   result of that decision Plaintiff has faced the continuing discrimination of being
 6   barred from entering this large public accommodation and place of business based
 7   upon Defendant’s illegal prohibition of her legally protected use of her service dog.
 8   Plaintiff has continued to suffer denial of access to these facilities, and faces the
 9   prospect of unpleasant and discriminatory treatment should she attempt to return to
10   these facilities. Plaintiff is unable to return to they Hyland Inn until she receives
11   the protection of this Court’s injunctive relief, and she has continued to suffer
12   discrimination on a daily basis since October 21, 2021, all to her statutory damages
13   pursuant to California Civil Code §§ 54.1, 54.2, and 54.3 and California Penal Code
14   section 365.5.
15         34.    INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit
16   the acts and omissions of Defendant as complained of herein which are continuing
17   on a day-to-day basis and which have the effect of wrongfully excluding Plaintiff
18   and other members of the public who are disabled, who require the assistance of
19   service animals, from full and equal access to these public facilities. Such acts and
20   omissions are the cause of humiliation and mental and emotional suffering of
21   Plaintiff in that these actions continue to treat Plaintiff as an inferior and second-
22   class citizen and serve to discriminate against her on the sole basis that she is a
23   person with disabilities who requires the assistance of a service animal.
24         35.    Plaintiff wishes to return to patronize the Hyland Inn but is deterred
25   from returning to use these facilities, because the lack of access and the significant
26   policy barriers will foreseeably cause her further difficulty, discomfort and
27   embarrassment, and Plaintiff is unable, so long as such acts and omissions of
28   Defendant continue, to achieve equal access to and use of these public facilities.

                                                   9
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.10 Page 10 of 20



 1   Therefore, Plaintiff cannot return to patronize the Hyland Inn and its facilities and
 2   is deterred from further patronage until these facilities are made properly accessible
 3   for disabled persons, including Plaintiff and other disabled individuals who require
 4   the assistance of a service animal.
 5         36.    The acts of Defendant have proximately caused and will continue to
 6   cause irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks
 7   injunctive relief as to Defendant’s inaccessible policies. As to the Defendant that
 8   currently own, operate, and/or lease (from or to) the subject premises, Plaintiff
 9   seeks preliminary and permanent injunctive relief to enjoin and eliminate the
10   discriminatory practices that deny full and equal access for disabled persons, and
11   seeks an award of reasonable statutory attorney fees, litigation expenses and costs.
12         37.    Wherefore Plaintiff asks this Court to preliminarily and permanently
13   enjoin any continuing refusal by Defendant to grant full and equal access to
14   Plaintiff in the ways complained of and to require Defendant to comply forthwith
15   with the applicable statutory requirements relating to access for disabled persons.
16   Such injunctive relief is provided by California Civil Code sections 54.1, 54.2 and
17   55, and other laws. Plaintiff further requests that the Court award damages
18   pursuant to Civil Code section 54.3 and other law and attorney fees, litigation
19   expenses, and costs pursuant to Civil Code sections 54.3 and 55, Code of Civil
20   Procedure section 1021.5 and other law, all as hereinafter prayed for.
21         38.    DAMAGES: As a result of the denial of full and equal access to the
22   described facilities and due to the acts and omissions of Defendant in owning,
23   operating, leasing, constructing, altering, and/or maintaining the subject facilities,
24   Plaintiff has suffered a violation of her civil rights, including but not limited to
25   rights under Civil Code sections 54 and 54.1, and has suffered difficulty,
26   discomfort and embarrassment, and physical, mental and emotional personal
27   injuries, all to her damages per Civil Code section 54.3, including general and
28   statutory damages, and treble damages, as hereinafter stated. Defendant’s actions

                                                  10
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.11 Page 11 of 20



 1   and omissions to act constitute discrimination against Plaintiff on the basis that she
 2   was and is disabled and unable, because of the policy barriers created and/or
 3   maintained by the Defendant in violation of the subject laws, to use the public
 4   facilities on a full and equal basis as other persons. The violations have deterred
 5   Plaintiff from returning to attempt to patronize the Hyland Inn and will continue to
 6   cause her damages each day these barriers to access and policy barriers continue to
 7   be present.
 8         39.     Further, although it is not necessary for Plaintiff to prove wrongful
 9   intent in order to show a violation of California Civil Code sections 54 and 54.1 or
10   of Title III of the ADA (see Donald v. Café Royale, 218 Cal. App. 3d 168 (1990)),
11   Defendant’s behavior was intentional. Defendant was aware and/or were made
12   aware of their duties to refrain from establishing discriminatory policies against
13   disabled persons, prior to the filing of this complaint. Defendant’s establishment of
14   its discriminatory policy to deny and restrict entry to persons with service dogs, and
15   their implementation of such a discriminatory policy against Plaintiff, indicate
16   actual and implied malice toward Plaintiff and conscious disregard for her rights
17   and safety.
18         40.     FEES AND COSTS: As a result of Defendant’s acts, omissions, and
19   conduct, Plaintiff has been required to incur attorney fees, litigation expenses, and
20   costs as provided by statute, in order to enforce Plaintiff’s rights and to enforce
21   provisions of the law protecting access for disabled persons and prohibiting
22   discrimination against disabled persons. Plaintiff therefore seeks recovery of all
23   reasonable attorney fees, litigation expenses, and costs, pursuant to the provisions
24   of Civil Code sections 54.3 and 55. Additionally, Plaintiff’s lawsuit is intended to
25   require that Defendant make its facilities accessible to all disabled members of the
26   public, justifying “public interest” attorney fees, litigation expenses and costs
27   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and
28   other applicable law.

                                                  11
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.12 Page 12 of 20



 1           41.   Plaintiff suffered damages as above described as a result of
 2   Defendant’s violations. Damages are ongoing based on her deterrence from
 3   returning to the Hyland Inn.
 4           WHEREFORE, Plaintiff prays for relief as hereinafter stated.
 5                          SECOND CAUSE OF ACTION:
               VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH
 6            ACT, CIVIL CODE SECTIONS 51 AND 52, AND THE AMERICANS
                     WITH DISABILITIES ACT AS INCORPORATED
 7                          BY CIVIL CODE SECTION 51(f)
 8           42.   Plaintiff re-pleads and incorporates by reference, as if fully set forth
 9   again herein, the allegations contained in Paragraphs 1 through 41 of this
10   Complaint and incorporates them herein as if separately re-pleaded.
11           43.   At all times relevant to this action, the Unruh Civil Rights Act,
12   California Civil Code § 51(b), provided that:
13           All persons within the jurisdiction of this state are free and equal, and
             no matter what their sex, race, color, religion, ancestry, national origin,
14           disability, or medical condition are entitled to the full and equal
             accommodations, advantages, facilities, privileges, or services in all
15           business establishments of every kind whatsoever.
16           44.   California Civil Code section 52 provides that the discrimination by
17   Defendant against Plaintiff on the basis of her disability constitutes a violation of
18   the general anti-discrimination provisions of sections 51 and 52.
19           45.   Each of Defendant’s discriminatory acts or omissions constitutes a
20   separate and distinct violation of California Civil Code section 52, which provides
21   that:
22           Whoever denies, aids or incites a denial, or makes any discrimination
             or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
23           every offense for the actual damages, and any amount that may be
             determined by a jury, or a court sitting without a jury, up to a maximum
24           of three times the amount of actual damage but in no case less than four
             thousand dollars ($4,000), and any attorney’s fees that may be
25           determined by the court in addition thereto, suffered by any person
             denied the rights provided in Section 51, 51.5, or 51.6.
26

27           46.   Any violation of the Americans with Disabilities Act of 1990
28   constitutes a violation of California Civil Code section 51(f), thus independently

                                                   12
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.13 Page 13 of 20



 1   justifying an award of damages and injunctive relief pursuant to California law,
 2   including Civil Code section 52. Per Civil Code section 51(f), “A violation of the
 3   right of any individual under the Americans with Disabilities Act of 1990 (Public
 4   Law 101-336) shall also constitute a violation of this section.”
 5         47.    The actions and omissions of Defendant as herein alleged constitute a
 6   denial of access to and use of the described public facilities by disabled persons
 7   who use service dogs within the meaning of California Civil Code sections 51 and
 8   52. As a proximate result of Defendant’s action and omissions, Defendant has
 9   discriminated against Plaintiff in violation of Civil Code sections 51 and 52, and are
10   responsible for statutory, compensatory and treble damages to Plaintiff, according
11   to proof.
12         48.    FEES AND COSTS: As a result of Defendant’s acts, omissions and
13   conduct, Plaintiff has been required to incur attorney fees, litigation expenses and
14   costs as provided by statute in order to enforce Plaintiff’s rights and to enforce
15   provisions of law protecting access for disabled persons and prohibiting
16   discrimination against disabled persons. Plaintiff therefore seeks recovery of all
17   reasonable attorney fees, litigation expenses and costs pursuant to the provisions of
18   California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is
19   intended to require that Defendant make its facilities and policies accessible to all
20   disabled members of the public, justifying “public interest” attorney fees, litigation
21   expenses and costs pursuant to the provisions of California Code of Civil Procedure
22   section 1021.5 and other applicable law.
23         49.    Plaintiff suffered damages as above-described as a result of
24   Defendant’s violations.
25         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
26                    THIRD CAUSE OF ACTION:
      VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
27                      (42 USC §§ 12101 et seq.)
28         50.     Plaintiff repleads and incorporates by reference, as if fully set forth

                                                  13
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.14 Page 14 of 20



 1   again herein, the factual allegations contained in Paragraphs 1 through 49, above,
 2   and incorporates them herein by reference as if separately repled hereafter.
 3         51.    In 1990 Congress passed the Americans with Disabilities Act after
 4   finding that laws were needed to more fully protect “some 43 million Americans
 5   with one or more physical or mental disabilities; that historically society has tended
 6   to isolate and segregate individuals with disabilities;” that “such forms of
 7   discrimination against individuals with disabilities continue to be a serious and
 8   pervasive social problem”; that “the Nation’s proper goals regarding individuals
 9   with disabilities are to assure equality of opportunity, full participation, independent
10   living and economic self-sufficiency for such individuals”; and that “the continuing
11   existence of unfair and unnecessary discrimination and prejudice denies people
12   with disabilities the opportunity to compete on an equal basis and to pursue those
13   opportunities for which our free society is justifiably famous.” 42 U.S.C. §
14   12101(a).
15         52.    The ADA provides, “No individual shall be discriminated against on
16   the basis of disability in the full and equal enjoyment of the goods, services,
17   facilities, privileges, advantages, or accommodations of any place of public
18   accommodation by any person who owns, leases, or leases to, or operates a place of
19   public accommodation.” 42 USC § 12182.
20         53.    Plaintiff is a qualified individual with a disability as defined in the
21   Rehabilitation Act and in the Americans with Disabilities Act of 1990.
22         54.     The Hyland Inn is a public accommodation within the meaning of
23   Title III of the ADA. 42 U.S.C. § 12181(7)(A).
24         55.    The ADA prohibits, among other types of discrimination, “failure to
25   make reasonable modifications in policies, practices or procedures when such
26   modifications are necessary to afford such goods, services, facilities, privileges,
27   advantages or accommodations to individuals with disabilities.” 42 U.S.C. §
28   12182(b)(2)(A)(ii).

                                                  14
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.15 Page 15 of 20



 1         56.    Under the “2010 Revised ADA Requirements: Service Animals,” as
 2   published by the United States Department of Justice, and distributed by the DOJ’s
 3   Civil Rights Division, Disability Rights Section, “Generally, title II and title III
 4   entities must permit service animals to accompany people with disabilities in all
 5   areas where members of the public are allowed to go.” ADA 2010 Revised
 6   Requirements, www.ada.gov/service -animals-2010.htm Further,
 7         Under the ADA, State and local governments, businesses, and
           nonprofit organizations that serve the public generally must allow
 8         service animals to accompany people with disabilities in all areas of
           the facility where the public is normally allowed to go.
 9

10   Ibid., emphasis in original.
11         57.    Defendant has a policy and practice of denying access to patrons with
12   service animals.
13         58.    On information and belief, as of the date of Plaintiff’s most recent visit
14   to the Hyland Inn on or about October 15, 2021, Defendant continues to deny full
15   and equal access to Plaintiff and to discriminate against Plaintiff on the basis of her
16   disabilities, thus wrongfully denying to Plaintiff the full and equal enjoyment of the
17   goods, services, facilities, privileges, advantages and accommodations of
18   Defendant’s premises, in violation of the ADA.
19         59.    In passing the Americans with Disabilities Act of 1990 (hereinafter
20   “ADA”), Congress stated as its purpose:
               It is the purpose of this Act
21
           (1) to provide a clear and comprehensive national mandate for the
22         elimination of discrimination against individuals with disabilities;
23         (2) to provide clear, strong, consistent, enforceable standards addressing
           discrimination against individuals with disabilities;
24
           (3) to ensure that the Federal Government plays a central role in enforcing
25         the standards established in this Act on behalf of individuals with disabilities;
           and
26
           (4) to invoke the sweep of congressional authority, including the power to
27         enforce the fourteenth amendment and to regulate commerce, in order to
           address the major areas of discrimination faced day-to-day by people with
28         disabilities.

                                                   15
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.16 Page 16 of 20



 1   42 USC § 12101(b).
 2          60.    As part of the ADA, Congress passed “Title III - Public
 3   Accommodations and Services Operated by Private Entities” (42 USC § 12181 et
 4   seq.). The subject property and facility is one of the “private entities” which are
 5   considered “public accommodations” for purposes of this title, which includes but
 6   is not limited to any “inn, hotel, motel, or other place of lodging.” 42 USC
 7   § 12181(7)(A).
 8          61.    The ADA states that “No individual shall be discriminated against on
 9   the basis of disability in the full and equal enjoyment of the goods, services,
10   facilities, privileges, advantages, or accommodations of any place of public
11   accommodation by any person who owns, leases, or leases to, or operates a place of
12   public accommodation.” 42 U.S.C. § 12182. The specific prohibitions against
13   discrimination include, but are not limited to the following:
14   § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory
15   to afford an individual or class of individuals, on the basis of a disability or
16   disabilities of such individual or class, directly, or through contractual, licensing, or
17   other arrangements, with the opportunity to participate in or benefit from a good,
18   service, facility, privilege, advantage, or accommodation that is not equal to that
19   afforded to other individuals.”
20   § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies,
21   practices, or procedures when such modifications are necessary to afford such
22   goods, services, facilities, privileges, advantages, or accommodations to individuals
23   with disabilities...;”
24   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure
25   that no individual with a disability is excluded, denied service, segregated, or
26   otherwise treated differently than other individuals because of the absence of
27   auxiliary aids and services...;”
28   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and

                                                   16
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.17 Page 17 of 20



 1   communication barriers that are structural in nature, in existing facilities... where
 2   such removal is readily achievable;”
 3   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier
 4   under clause (iv) is not readily achievable, a failure to make such goods, services,
 5   facilities, privileges, advantages, or accommodations available through alternative
 6   methods if such methods are readily achievable.”
 7         The acts and omissions of Defendant set forth herein were in violation of
 8   Plaintiff’s rights under the ADA and the regulations promulgated thereunder, 28
 9   C.F.R. Part 36 et seq.
10         62.      The removal of each of the policy barriers complained of by Plaintiff
11   as hereinabove alleged, were at all times herein mentioned “readily achievable”
12   under the standards of sections 12181 and 12182 of the ADA. As noted
13   hereinabove, removal of each and every one of the policy barriers complained of
14   herein were already required under California law. In the event that removal of any
15   barrier is found to be “not readily achievable,” Defendant still violated the ADA,
16   per section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges,
17   advantages and accommodations through alternative methods that were “readily
18   achievable.”
19         63.      On information and belief, as of the dates of Plaintiff’s encounters at
20   the premises and as of the filing of this Complaint, Defendant’s actions, policies,
21   and physical premises have denied and continue to deny full and equal access to
22   Plaintiff and to other disabled persons who work with service dogs, which violates
23   Plaintiff’s right to full and equal access and which discriminates against Plaintiff on
24   the basis of her disabilities, thus wrongfully denying to Plaintiff the full and equal
25   enjoyment of the goods, services, facilities, privileges, advantages and
26   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.
27         64.      Defendant’s actions continue to deny Plaintiff’s rights to full and equal
28   access by deterring Plaintiff from patronizing the Hyland Inn and discriminated and

                                                   17
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.18 Page 18 of 20



 1   continue to discriminate against her on the basis of her disabilities, thus wrongfully
 2   denying to Plaintiff the full and equal enjoyment of Defendant’s goods, services,
 3   facilities, privileges, advantages and accommodations, in violation of section 12182
 4   of the ADA. 42 U.S.C. § 12182.
 5         65.    Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections
 6   12188 et seq., Plaintiff is entitled to the remedies and procedures set forth in
 7   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is
 8   being subjected to discrimination on the basis of her disabilities in violation of
 9   sections 12182 and 12183 of this title. On information and belief, Defendant has
10   continued to violate the law and deny the rights of Plaintiff and other disabled
11   persons to “full and equal” access to this public accommodation since on or before
12   Plaintiff’s encounters. Pursuant to section 12188(a)(2)
13         [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)...
           injunctive relief shall include an order to alter facilities to make such
14         facilities readily accessible to and usable by individuals with disabilities
           to the extent required by this title. Where appropriate, injunctive relief
15         shall also include requiring the provision of an auxiliary aid or service,
           modification of a policy, or provision of alternative methods, to the
16         extent required by this title.
17         66.    Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of
18   the Civil Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal
19   Regulations adopted to implement the Americans with Disabilities Act of 1990.
20   Plaintiff is a qualified disabled person for purposes of section 12188(a) of the ADA
21   who is being subjected to discrimination on the basis of disability in violation of
22   Title III and who has reasonable grounds for believing she will be subjected to such
23   discrimination each time that she may use the property and premises, or attempt to
24   patronize the Hyland Inn, in light of Defendant’s policy barriers.
25         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
26                                           PRAYER
27         Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
28   forth in this Complaint. Plaintiff has suffered and will continue to suffer

                                                  18
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.19 Page 19 of 20



 1   irreparable injury as a result of the unlawful acts, omissions, policies, and practices
 2   of the Defendant as alleged herein, unless Plaintiff is granted the relief she
 3   requests. Plaintiff and Defendant have an actual controversy and opposing legal
 4   positions as to Defendant’s violations of the laws of the United States and the State
 5   of California. The need for relief is critical because the rights at issue are
 6   paramount under the laws of the United States and the State of California.
 7         WHEREFORE, Plaintiff Jessica Kramer prays for judgment and the
 8   following specific relief against Defendant:
 9         1.      An order enjoining Defendant, its agents, officials, employees, and all
10   persons acting in concert with them:
11              a. From continuing the unlawful acts, conditions, and practices described
12                 in this Complaint;
13              b. To modify their policies and practices to accommodate service dog
14                 users in conformity with federal and state law, and to advise Plaintiff
15                 that her service dog will not be excluded should she desire to enter and
16                 use the services of the Hyland Inn;
17              c. That the Court issue preliminary and permanent injunction directing
18                 Defendant as current owners, operators, lessors, and/or lessees and/or
19                 their agents of the subject property and premises to modify the above
20                 described property, premises, policies and related policies and
21                 practices to provide full and equal access to all persons, including
22                 persons with disabilities; and issue a preliminary and permanent
23                 injunction pursuant to ADA section 12188(a) and state law directing
24                 Defendant to provide facilities usable by Plaintiff and similarly
25                 situated persons with disabilities, and which provide full and equal
26                 access, as required by law, and to maintain such accessible facilities
27                 once they are provided and to train Defendant’s employees and agents
28                 in how to recognize disabled persons and accommodate their rights

                                                  19
                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
Case 3:22-cv-00642-L-WVG Document 1 Filed 05/06/22 PageID.20 Page 20 of 20



 1                 and needs;
 2              d. An order retaining jurisdiction of this case until Defendant have fully
 3                 complied with the orders of this Court, and there is a reasonable
 4                 assurance that Defendant will continue to comply in the future absent
 5                 continuing jurisdiction;
 6         2.      An award to Plaintiff of statutory, actual, general, treble, and punitive
 7   damages in amounts within the jurisdiction of the Court, all according to proof;
 8         3.      An award of civil penalty as against Defendant under California Penal
 9   Code § 365.5(c);
10         4.      An award to Plaintiff pursuant to 42 U.S.C. § 12205, 29 U.S.C. § 794a,
11   California Civil Code §§ 52 and 54.3, California Code of Civil Procedure § 1021.5,
12   and as otherwise permitted by law, of the costs of this suit and reasonable attorneys’
13   fees and litigation expenses;
14         5.      An award of prejudgment interest pursuant to Civil Code § 3291;
15         6.      Interest on monetary awards as permitted by law; and
16         7.      Grant such other and further relief as this Court may deem just and
17   proper.
18   Date: May 6, 2022                                  REIN & CLEFTON
19
                                                           /s/ Aaron M. Clefton
                                                        By AARON M. CLEFTON, Esq.
20                                                      Attorneys for Plaintiff
                                                        JESSICA KRAMER
21
                                         JURY DEMAND
22
           Plaintiff hereby demands a trial by jury for all claims for which a jury is
23
     permitted.
24
     Date: May 6, 2022                                  REIN & CLEFTON
25
                                                           /s/ Aaron M. Clefton
26                                                      By AARON M. CLEFTON, Esq.
                                                        Attorneys for Plaintiff
27
                                                        JESSICA KRAMER
28

                                                   20
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
